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                                  13                                       UNITED STATES DISTRICT COURT

                                  14                                 NORTHERN DISTRICT OF CALIFORNIA

                                  15 STEVEN GOMO, RICHARD CLIFTON,                      Case No. 5:17-cv-02990-BLF
                                     EDWARD DEENIHAN, DANIEL
                                  16 WARMENHOVEN, ROBERT SALMON,                        NOTICE OF MOTION AND MOTION
                                     TOM GERSTENBERGER, AND TOM                         FOR SUMMARY JUDGMENT ON
                                  17 GEORGENS,                                          EQUITABLE REMEDIES BY
                                                                                        DEFENDANT NETAPP, INC.;
                                  18                         Plaintiffs,                MEMORANDUM OF POINTS AND
                                                                                        AUTHORITIES
                                  19             vs.
                                                                                        Date:         October 13, 2022
                                  20 NETAPP, INC., A DELAWARE                           Time:         9:00 a.m.
                                     CORPORATION, NETAPP EXECUTIVE                      Courtroom: 3
                                  21 MEDICAL RETIREMENT PLAN,                           Judge:        Hon. Beth Labson Freeman
                                                                                        Complaint filed: May 24, 2017
                                  22                         Defendants.
                                                                                        Trial:       March 27-31, 2023
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                                       DEFENDANT NETAPP, INC.’S NOTICE OF MOTION AND MOTION FOR SUMMARY
                                       JUDGMENT; MEMORANDUM OF POINTS AND AUTHORITIES; Case No. 5:17-cv-02990-BLF
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                                  1 TO PLAINTIFF AND HIS ATTORNEYS OF RECORD:

                                  2             NOTICE IS HEREBY GIVEN that on October 13, 2022, at 9:00 a.m., or as soon thereafter as

                                  3 may be considered by the above-entitled Court, located in Courtroom 3 on the 5th Floor at 280 South

                                  4 First Street, San Jose, California, Defendant NETAPP, INC., A DELAWARE CORPORATION will and

                                  5 hereby does move the Court for summary judgment under Federal Rule of Civil Procedure 56, because

                                  6 Plaintiff DANIEL WARMENHOVEN (“Plaintiff”) cannot establish any entitlement to equitable relief

                                  7 under section 502(a)(3) of the Employee Retirement Income Security Act of 1974, as amended

                                  8 (“ERISA”), 29 U.S.C. §1132(a)(3), for his second (and sole remaining) claim for relief in this action.

                                  9 This Motion is based upon this Notice of Motion Summary Judgment, the Memorandum of Points and

                              10 Authorities, the Declaration of Clarissa A. Kang and all exhibits thereto, all records on file with the Court

                              11 relating to this matter, and on such further evidence and argument as may be considered by the Court at
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                              12 the hearing on this motion.
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                              13
                                      DATED: June 15, 2022                 TRUCKER  HUSS
                              14
                                                                           By: /s/Clarissa A. Kang________________________
                              15
                                                                               Clarissa A. Kang
                              16                                               Attorneys for Defendant
                                                                               NETAPP, INC.
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                                       DEFENDANT NETAPP, INC.’S NOTICE OF MOTION AND MOTION FOR SUMMARY                                1
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                                  1                            MEMORANDUM OF POINTS AND AUTHORITIES

                                  2         This Court held, and the Ninth Circuit affirmed, that summary judgment was proper as to Plaintiff

                                  3 Daniel Warmenhoven’s first claim for benefits because Defendant NetApp, Inc. (“NetApp”) had the right

                                  4 to amend or terminate the NetApp, Inc. Executive Retiree Health Plan (the “Plan”), under the law and by

                                  5 the clear terms of the Plan. On his second and sole remaining claim for relief (for breach of fiduciary

                                  6 duty under ERISA §502(a)(3), 29 U.S.C. §1132(a)(3)), Warmenhoven cannot establish any entitlement

                                  7 to a remedy. This Court should grant summary judgment in favor of NetApp.1

                                  8         In his second claim, Warmenhoven contends that NetApp breached its fiduciary duties by falsely

                                  9 representing that the Plan’s benefits continued for his lifetime and by not disclosing that they were

                              10 subject to amendment or cancellation by NetApp. Warmenhoven seeks lifetime retiree health benefits.

                              11 To prevail, he must prove (1) that a remediable wrong exists and (2) that the relief he seeks is
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                              12 appropriate equitable relief. Opinion (Dkt. 103) at 16; MSJ Order (Dkt. 93) at 17:14-18. As the Ninth
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                              13 Circuit recognized in its September 13, 2021 opinion (the “Opinion”), this Court may consider, on

                              14 summary judgment, the second requirement of appropriate equitable relief – the “remedy prong.”

                              15 Dkt. 103 at 23. The first requirement of whether a remediable wrong occurred is to be left for trial, if

                              16 necessary. Trans. of 2/16/22 CMC (Dkt. 126) at 4-5. Because Warmenhoven is not entitled to the

                              17 remedy he has requested, this Court should grant summary judgment and dismiss his remaining claim.

                              18            The Supreme Court identified reformation, equitable estoppel, and surcharge as equitable remedies

                              19 available under ERISA §502(a)(3). Dkt. 103 at 23 (citing CIGNA Corp. v. Amara, 563 U.S. 421 (2011));

                              20 Dkt. 93 at 17:19-21. None are available here, because the Plan unambiguously grants NetApp the power

                              21 to amend or terminate the Plan, as this Court has already held, and because Warmenhoven did not rely on

                              22 or suffer any harm from any alleged misrepresentations about the Plan. Moreover, “[e]quitable remedies

                              23 are not available where the claim ‘would result in a payment of benefits that would be inconsistent with

                              24 the written plan.’” Gabriel v. Alaska Elec. Pension Fund, 773 F.3d 945, 962 (9th Cir. 2014). The

                              25 lifetime benefit Warmenhoven seeks is therefore not appropriate equitable relief under ERISA and

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                                      1
                                          Warmenhoven’s second claim for relief – for breach of fiduciary duty – is asserted only against NetApp.
                              28
                                      See Complaint (Dkt. 1) at 10.

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                                  1 inconsistent with this Court’s prior ruling and the Ninth Circuit’s affirmance of that ruling.

                                  2       I.     Issue To Be Decided – Whether NetApp is entitled to summary judgment because no

                                  3 appropriate equitable relief is available for Warmenhoven’s remaining breach of fiduciary duty claim.

                                  4       II.    Statement Of Facts and Summary Judgment Standard

                                  5       This Court’s September 12, 2019 Order covers the relevant factual background and the summary

                                  6 judgment standard. See Dkt. 93 at 1-5. In addition, NetApp draws the Court’s attention to the following

                                  7 undisputed facts:

                                  8      - Warmenhoven’s eligibility to participate in the Plan did not impact his decision to retire or his goals

                                  9 in retirement. See Kang Decl. ¶3, Ex. A (Warmenhoven depo.) at 130:23-131:7. The Plan was not the

                              10 primary reason he retired. See id. at ¶5, Ex. C (RFA 12).

                              11         - When Warmenhoven paid for his health coverage after the 2016 change in Plan design, that change
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                              12 did not impact his personal net worth or lifestyle. See id. at Ex. A at 180:24-181:7 & 182:25-183:4.
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                              13         - Warmenhoven admitted that there are no ambiguous Plan terms. See id. at ¶6, Ex. D (ROG 21).

                              14         - Warmenhoven had access to and/or received the Plan document when the Plan was created in 2005

                              15 and when he retired in 2015. See id. at ¶4, Ex. B (Correa depo.) at 38:24-39:8 & 45:13-46:17; id. at ¶7,

                              16 Ex. E (Dkt. 74 (Saunders Decl.)) at ¶¶5-6, Ex. 1; Dkt. 93 at 22:4-7.

                              17          III. No Reformation Remedy Is Appropriate Because Warmenhoven Was Not Defrauded, The
                                               Plan Terms Are Not A Product Of Mistake, And NetApp Was Not Mistaken As To Its
                              18               Right To Amend Or Terminate The Plan
                              19          Reformation is not appropriate here because no mistake or fraud exists. Gabriel, 773 F.3d at 955.

                              20 Reformation is appropriate only where the plan contains terms that either (i) arise from a mistake of fact

                              21 or law and fail to reflect the drafter’s intent, or (ii) were induced by fraud, duress, or undue influence.

                              22 Skinner v. Northrop Grumman Ret. Plan B, 673 F.3d 1162, 1166 (9th Cir. 2012). This Court has already

                              23 held that no fraudulent conduct exists. Dkt. 93 at 21:7-10 (“Plaintiffs have not submitted any evidence,

                              24 and none appears in the record, suggesting that NetApp did not intend to provide lifetime medical

                              25 benefits under the Plan when it was adopted. NetApp’s decision to terminate the Plan more than a decade

                              26 later does not render its earlier conduct fraudulent.”); 21:22 (“At least some of the Plan participants

                              27 supervised the creation of the Plan.”); 22:9-11 (“On this record, no reasonable trier of fact could

                              28 conclude that NetApp misled Plaintiffs – sophisticated individuals who held the most senior executive


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                                  1 positions at the company – regarding the nature of the benefits offered under the Plan.”). Duress and

                                  2 undue influence also do not exist: Warmenhoven was undisputedly NetApp’s CEO and Executive Chair

                                  3 of the Board when the Plan was created, and he personally directed its creation. See id. at 2:9-15.

                                  4       In addition, the terms of the Plan were not a product of mistake, nor was there a mutual mistake as to

                                  5 the content or effect of the Plan’s terms. Gabriel, 773 F.3d at 955. Consistent with NetApp’s eventual

                                  6 amendment and termination of the Plan and the default legal principle that welfare benefits are not

                                  7 vested, see Dkt. 103 at 10 (citing Curtiss-Wright Corp. v. Schoonejongen, 514 U.S. 73, 78 (1995)), the

                                  8 Plan’s express reservation of NetApp’s right to change or terminate benefits at any time was not a

                                  9 product of mistake, and Warmenhoven’s alleged misunderstanding of that right was not mutual. This

                              10 Court aptly recognized that Warmenhoven requested and supervised the creation of the Plan. Dkt. 93 at

                              11 2:6-15 & 21:22. Marge Correa, NetApp’s Director of Compensation and Benefits when the Plan was
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                              12 adopted, whom Warmenhoven called the “core person” or “quarterback” in the Plan’s creation,
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                              13 confirmed in her deposition that NetApp could terminate the Plan at any time and that she “would be

                              14 surprised if [the Compensation Committee] did not know that.” Ex. A at 62:15-63:1 & 89:9-22; Ex. B at

                              15 37:17-39:8. The Compensation Committee “certainly got plan documents,” as did Warmenhoven, who

                              16 was NetApp’s CEO and attended the Committee’s meetings. Ex. B at 38:24-39:8 & 45:13-46:17.

                              17          IV. Equitable Estoppel Is Inappropriate Because The Plan Terms Are Unambiguous

                              18          Equitable estoppel is also not appropriate, because payment of lifetime benefits contradicts the clear

                              19 Plan terms, and Warmenhoven did not reasonably and detrimentally rely on any representation of lifetime

                              20 benefits. See Gabriel, 773 F.3d at 955-56 (estoppel elements); Dkt. 93 at 18:10-22 (same).

                              21          This Court held that the Plan document – i.e., the Certificates of Coverage (not the PowerPoints) –

                              22 contains no guarantee of lifetime benefits, but rather expressly permits amendment or termination. Dkt.

                              23 93 at 15:20-26; 16:7-9; Ex. E at NETAPP 005223 (Plan language stating NetApp “has the right to amend

                              24 or terminate this Plan at any time”); Dkt. 103 at 8 (quoting Plan language). Well-established Ninth

                              25 Circuit precedent holds that a court cannot equitably estop an ERISA fiduciary when doing so would

                              26 contradict the clear terms of the Plan. Wong v. Flynn-Kerper, 999 F.3d 1205, 1212 (9th Cir. 2021).

                              27 Equitable estoppel cannot stand because the Plan’s terms unambiguously state NetApp’s right to amend

                              28 or terminate the Plan. See Gabriel, 773 F.3d at 956. The clear and unambiguous language of the Plan


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                                  1 supersedes any purported representations made in collateral documents (i.e., the PowerPoints) or oral

                                  2 statements and forecloses an estoppel claim. See id. at 956 & 959. Warmenhoven has admitted that

                                  3 there are no ambiguous Plan terms. Ex. D (ROG 21).

                                  4       Warmenhoven is also unable to establish, as is required for estoppel, that he relied to his detriment on

                                  5 any representations that the Plan provided lifetime benefits. See Gabriel, 773 F.3d at 955 (requiring

                                  6 reliance on another’s conduct to his injury). He admitted that the prospect of lifetime retiree medical

                                  7 benefits did not change his behavior in any way. Ex. A at 130:23-131:7 (eligibility to participate in the

                                  8 Plan did not impact his decision to retire, and his goals in retirement were not affected by the Plan) at

                                  9 180:24-181:7 & 182:25-183:4 (change in Plan design did not impact his personal net worth or lifestyle).

                              10 Warmenhoven also cannot show any reliance was justifiable or reasonable, which are required to

                              11 establish equitable estoppel, because the Plan document was available and furnished to him at the Plan’s
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                              12 creation (noted above) and at retirement. Wong, 999 F.3d at 1213, n.9 (“reliance can seldom, if ever, be
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                              13 reasonable or justifiable if it is inconsistent with the clear and unambiguous terms of plan documents

                              14 available to or furnished to the party”); Dkt. 93 at 22:4-11; Ex. E (Dkt. 74 (Saunders Decl.)) at ¶¶5-6,

                              15 Ex. 1 (Warmenhoven received the Plan when he retired).

                              16          V. Surcharge Is Inappropriate Because Neither Causation Nor Harm Exists

                              17          Surcharge is also unavailable, because Warmenhoven was not harmed by alleged misrepresentations

                              18 that the retiree health benefits continued for his lifetime, and he cannot show that he would be in a

                              19 different position but for NetApp’s alleged breach of fiduciary duty. Surcharge, which is monetary

                              20 compensation for a loss resulting from a breach of duty or to prevent unjust enrichment, is actionable

                              21 only where the violation injured the plaintiff and he can show “harm and causation.” Gabriel, 773 F.3d

                              22 at 957-58. The Ninth Circuit requires “but for” causation for surcharge, such that “[t]he beneficiary can

                              23 pursue the remedy that will put the beneficiary in the position he or she would have attained but for the

                              24 trustee’s breach.” Moyle v. Liberty Mut. Ret. Benefit Plan, 263 F.Supp.3d 999, 1028 (S.D. Cal. 2017)

                              25 (quoting Skinner, 673 F.3d at 1167). The requirements of causation and harm depend largely on the

                              26 same factors as reliance. Petroff v. Ret. Benefit Plan of Am. Airlines, Inc., 14-02866 JAK(MANx), 2015

                              27 WL 13917970 at *11-12 (C.D. Cal. Jul. 28, 2015) (dismissal warranted where no allegation showed that

                              28 a failure to disclose caused harm). There is no causal connection between the alleged misrepresentation


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                                  1 by NetApp that Plan benefits would continue for Warmenhoven’s lifetime and any harm to

                                  2 Warmenhoven. Indeed, Warmenhoven testified that his decision to retire and his goals in retirement

                                  3 were not affected by his participation in the Plan; Warmenhoven would not have changed his behavior

                                  4 had NetApp told him that the benefits could be terminated at any time. Ex. A at 130:23-131:7, 180:24-

                                  5 181:7; Ex. C (RFA 12). Furthermore, Warmenhoven did not suffer any injury. He would be in the same

                                  6 position – paying his healthcare costs – even if NetApp had told him that the Plan could be terminated.

                                  7 He cannot establish that he relied on any alleged misrepresentation or that any alleged misrepresentation

                                  8 caused him harm. See Skinner, 673 F.3d at 1167 (no harm to support surcharge where plaintiffs’ current

                                  9 positions were no different from that in which they would have been but for the alleged breach).

                              10        Also, there is no evidence that NetApp was unjustly enriched by allegedly failing to disclose

                              11 NetApp’s ability to terminate the Plan. See id. (summary judgment upheld where no evidence that the
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                              12 alleged fiduciary gained a benefit by the alleged breach). Indeed, the record reflects that NetApp
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                              13 terminated the Plan to reduce costs when NetApp was also laying off a significant number of employees.

                              14 See Dkt. 93 at 20:23-21:2.

                              15        VI. Injunctive Relief Is Inappropriate Because There Is No Irreparable Injury Or Hardship
                              16        To the extent Warmenhoven seeks injunctive relief requiring provision of lifetime health benefits,

                              17 injunctive relief is also not appropriate equitable relief under ERISA §502(a)(3) because it is contrary to

                              18 NetApp’s express right to terminate the Plan. Id. at 15:20-26; Gabriel, 773 F.3d at 962 (“[e]quitable

                              19 remedies are not available where the claim ‘would result in a payment of benefits that would be

                              20 inconsistent with the written plan.’”). Warmenhoven also has not suffered an irreparable injury or

                              21 hardship; the only damages he suffered (if any) is monetary (the cost of health coverage) which did not

                              22 impact his personal net worth. See Schuman v. Microchip Tech. Inc., 302 F. Supp. 3d 1101, 1118-19

                              23 (N.D. Cal. 2018) (standard for injunctive relief).

                              24        VII. Conclusion

                              25        For the foregoing reasons, NetApp is entitled to summary judgment on Warmenhoven’s fiduciary

                              26 breach claim because no appropriate equitable relief exists under ERISA § 502(a)(3).

                              27 DATED: June 15, 2022                     TRUCKER  HUSS
                                                                          By: /s/Clarissa A. Kang________________________
                              28                                              Clarissa A. Kang, Attorneys for Defendant NETAPP, INC.

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